                   IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                            1:12 CR 119-4


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
AMANDA CECILE TONEY.                   )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the

undersigned at the close of a Rule 11 proceeding that was held before this Court on

February 21, 2013. It appearing to the Court at the call of this matter on for

hearing the Defendant was present with her attorney, Charles R. Brewer and the

Government was present and represented through Assistant United States Attorney

Richard Edwards.      From the arguments of counsel for Defendant and the

arguments of the Assistant United States Attorney and the records in this cause, the

Court makes the following findings:

      Findings.    On December 4, 2012 a bill of indictment was issued charging

the Defendant with conspiracy to traffic in methamphetamine, in violation of 21

U.S.C. § 841(a)(1)and 846.      On February 21, 2013, the undersigned held and

inquiry, pursuant to Rule 11 of the Federal Rules of Criminal Procedure and

accepted a plea of guilty of the Defendant to that charge. At the end of the Rule 11

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proceeding, this Court presented the issue of whether or not Defendant should now

be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or
      (C) of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

            (ii) an attorney for the Government has recommended that no
            sentence of imprisonment be imposed on the person; or

            (B) the judicial officer finds by clear and convincing evidence
            that the person is not likely to flee or pose a danger to any other
            person or the community.

      From an examination of the records in this cause, it appears Defendant has

now entered a plea of guilty on February 21, 2013 to conspiracy to violate 21

U.S.C. § 841(a)(1). That crime is one of the crimes that is referenced under 18

U.S.C. § 3142(f)(1)(C). The undersigned made an inquiry of Assistant United

States Attorney Richard Edwards as to whether or not there will be a

recommendation that no sentence of imprisonment be imposed upon Defendant.

Mr. Edwards advised the Court that such a recommendation would not be made in

this matter. The undersigned cannot find there is a likelihood that a motion for

acquittal or new trial will be granted due to the fact that Defendant has entered a

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plea of guilty. It would thus appear, and the Court is of the opinion that the Court

is required to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which

require the detention of Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release are hereby REVOKED and it is ORDERED that Defendant be detained

pending further proceedings in this matter.

                                                     Signed: February 26, 2013




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